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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                              CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:21-CR-00379                    Recorder: CS 10/26/2021                      Date: 10/26/2021

Present: The Honorable Pedro V. Castillo, U.S. Magistrate Judge

Court Clerk: Marlene Ramirez                               Assistant U.S. Attorney: Kelley Ng-McCullough by VTC

 United States of America v.       Attorney Present for Defendant(s)       Language              Interpreter
 FONTRELL ANTONIO                  ASHLEY MAHMOUDIAN, Special
 BAINES                            appearance by LAKESHIA ADENIYI-
      CUSTODY-PRESENT              DORSEY
 BY VTC                                   DFPD BY VTC


PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Deft is arraigned and states true name is the name on the charging document.


Defendant is given a copy of the Indictment and acknowledges having been read or having received a copy of the
Indictment and waives the reading thereof.


Defendant pleads not guilty to all counts in the Indictment.

This case is assigned to the calendar of District Judge Michael W. Fitzgerald.
It is ordered that the following date(s) and time(s) are set:
         Jury Trial 12/21/2021 at 8:30 AM
Status Conference 11/15/2021 at 3:00 PM
Defendant and counsel are ordered to appear before said judge at the time and date indicated.




                                                                  First Appearance/Appointment of Counsel: 00 : 00
                                                                                                         PIA: 00 : 03
                                                                               Initials of Deputy Clerk: MR by TRB
cc: Statistics Clerk, PSALA USMLA




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